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                               EXHIBIT 9
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                                                                                                                        EMPLOYEE EARNINGS RECORD
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                    HOURS, EARNINGS, AND REIMBURSEMENTS & OTHER PAYMENTS                                            WITHHOLDINGS                                                  NET
                                                                                  REIMB &
CHECK     DESCR    REGULAR OVERTIME      REGULAR       OVERTIME    TOTAL           OTHER    SOC SEC       FEDERAL        STATE      LOCAL     OTHER                               PAY
DATE                HOURS   HOURS        AMOUNT         AMOUNT    EARNINGS       PAYMENTS    + MED          TAX           TAX        TAX

07/20   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
07/27   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
08/03   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
08/10   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
08/17   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
08/24   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
08/31   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
09/07   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
09/14   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
09/21   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
09/28   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
QTR 3                520.00                 4680.00                    4680.00                 S 290.16      403.00 NY                      Disability                            3788.59
                                                                                               M 67 86                     116.74                        7 80

                                                                                                                                            NY DBL PFL
                                                                                                                                                   5 85
10/05   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
10/12   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
10/19   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
10/26   Hourly        40.00                   360.00                    360.00                  27.54         31.00          8.98                   0.60                           291.43
                                                                                                                                                    0.45
11/02   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50
11/09   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50
11/16   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50
11/23   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50
11/30   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50
12/07   Salary       M40.00                   400.00                    400.00                  30.60         35.80         11.02                   0.60                           321.48
                                                                                                                                                    0.50



Cespedes Germoso, Chri...
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                                                                                                                         EMPLOYEE EARNINGS RECORD
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                    HOURS, EARNINGS, AND REIMBURSEMENTS & OTHER PAYMENTS                                             WITHHOLDINGS                                                  NET
                                                                                   REIMB &
CHECK     DESCR    REGULAR OVERTIME      REGULAR       OVERTIME    TOTAL            OTHER    SOC SEC       FEDERAL        STATE      LOCAL     OTHER                               PAY
DATE                HOURS   HOURS        AMOUNT         AMOUNT    EARNINGS        PAYMENTS    + MED          TAX           TAX        TAX

12/14   Salary       M40.00                   400.00                     400.00                  30.60         35.80         11.02                   0.60                            321.48
                                                                                                                                                     0.50
12/21   Salary       M40.00                   400.00                     400.00                  30.60         35.80         11.02                   0.60                            321.48
                                                                                                                                                     0.50
12/28   Salary       M40.00                   400.00                     400.00                  30.60         35.80         11.02                   0.60                            321.48
                                                                                                                                                     0.50
QTR 4                520.00                 5040.00                     5040.00                 S 312.48      446.20 NY                      Disability                             4059.04
                                                                                                M 73.08                     135.10                        7 80

                                                                                                                                             NY DBL PFL
                                                                                                                                                    6 30
YTD                 2080.00                19080.00                    19080.00                S 1182.96     1670.00 NY                      NY DBL PFL                            15410.01
2018                                                                                            M 276.66                    485.32                 23 85

                                                                                                                                             Disability
                                                                                                                                                      31 20
01/04   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
01/11   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
01/18   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
01/25   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
02/01   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
02/08   Salary       M40.00                   400.00                     400.00                  30.60         35.50         11.02                   0.60                            321.67
                                                                                                                                                     0.61
QTR 1                240.00                 2400.00                     2400.00                 S 148 80      213.00 NY                      Disability                             1930.02
                                                                                                M 34 80                      66.12                        3.60

                                                                                                                                             NY DBL PFL
                                                                                                                                                    3.66
YTD                  240.00                 2400.00                     2400.00                 S 148 80      213.00 NY                      NY DBL PFL                             1930.02
2019                                                                                            M 34 80                      66.12                  3.66

                                                                                                                                             Disability
                                                                                                                                                          3.60




Cespedes Germoso, Chri...
PII



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